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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
                                                     :
        v.                                           :       Case No.: 21-cr-382 PLF
                                                     :
CHRISTOPHER WARNAGIRIS,                              :
                                                     :
                                                     :
             Defendant.                              :


                                             ORDER

       Based upon the representations in United States’ Unopposed Motion to Continue and to

Exclude Time Under the Speedy Trial Act and Motion to Continue Status Hearing, and upon

consideration of the entire record, the Court makes the following findings:

       Defendant is charged by Indictment with various offenses, including three felony offenses,

related to crimes that occurred at the United States Capitol on January 6, 2021. Since this Court’s

Status Hearing, the United States has continued to provide discovery to Defendants and expects

additional disclosures in the future. The parties have also very recently begun plea negotiations.

Thus, Defendant needs additional time to review discovery and to engage in more meaningful plea

discussions to determine how he wishes to resolve this case. Accordingly, the United States filed

its unopposed motion to continue the status hearing set for May 20, 2022 for 90 days, and further

requested that this Court toll the Speedy Trial Act from the date this Court enters an Order on this

motion through and including the date of the next Status Hearing.

       The Court agrees that the ends of justice served by granting a continuance outweigh the

best interest of the public and the defendant in a speedy trial under 18 U.S.C. § 3161(h)(7)(A)

based on the factors described in 18 U.S.C. § 3161(h)(7)(B)(i)(ii) and (iv).
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       Therefore, it is this    day of ________________, 2022,

       ORDERED that the Unopposed Motion to Continue and to Exclude Time Under the

Speedy Trial Act and Motion to Continue Status Hearing, is GRANTED; it is further

       ORDERED that this proceeding is continued to                       , 2022, at

       ; and it is further

       ORDERED that the time from the date of this Order through and including the date of

the next hearing is hereby excluded from the computation of time within which trial must

commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.



                                    ______________________________________________
                                    PAUL L. FRIEDMAN
                                    SENIOR UNITED STATES DISTRICT JUDGE




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